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                         UNITED STA TES DISTRICT ‘OURT
                            DISTRICT OF NEW JERSEY


  UNITED STATES OF AMERICA,                          Hon. Stanley R. Chesler

                                 Plaintiff
                                                    CRIMINAL No. 08-176

 KENNETH CAMPBELL,
                                                    GARNISHEE ORDER
                                 Defendant,
         and

 IUOE LOCAL 825 PENSION FUND,
 and its successors or assigns,

                                Garnishee.




       An Application and Order for Writ of Garnishment was filed by the United States of

America, and a Writ of Garnishment directed to Garnishee        duly issued, The Garnishee

waived service of the Writ of Garnishment by United States Marshal and accepted service by

federal express mail. Pursuant to the Writ of Garnishment, the Garnishee has filed an Answer to

the Writ stating that at the time nf the erviee nfth Writ Ii hc41 in hi rn   ød,’n   tiwfn+,
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under his contro1 personal property belonging to and due defendant, and that
                                                                                 garnishee was
indebted to defendant in the sum of $361.5O467.

       IT IS ORDERED that the garnishee pay the sum of $4O23339 of the
                                                                                 detndants account
so that it may be applied to the defendants financial obligation to the United
                                                                                 States of America,



DATED:      .
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                              UNITED STATES DISTRICT COURT
